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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)



                                      CERTIFICATE OF SERVICE

         I hereby certify that on this 14th day of February, 2024, I caused to be filed with the Court

electronically, and I caused to be served a true and correct copy of the First Interim Application of

M3 Advisory Partners, LP, as Financial Advisor to the Official Committee of Equity Security

Holders, for Allowance of Compensation and Reimbursement of Expenses for the Period from

September 7, 2023 through December 31, 2023 upon the parties that are registered to receive notice

via the Court’s CM/ECF notification system and an additional service was competed via electronic

mail on the parties listed on the attached service list.

                                                               /s/ Eric J. Monzo
                                                               Eric J. Monzo (DE Bar No. 5214)




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.


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                                          Service List

 Adam Kroll                                        Benjamin Hackman, Esq.
 Lordstown Motors Corporation                      Office of The United States Trustee
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                                                   Wilmington, DE 19801
 Debtors                                           E-mail: Benjamin.a.hackman@usdoj.gov

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 and

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